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James E. Cecchi                                    Samuel H. Rudman
Lindsey H. Taylor                                  ROBBINS GELLER RUDMAN
CARELLA, BYRNE, CECCHI                               & DOWD LLP
OLSTEIN, BRODY & AGNELLO                           58 South Service Road, Suite 200
5 Becker Farm Road                                 Melville, NY 11747
Roseland, New Jersey 07068                         (631) 367-7100
(973) 994-1700
                                                   Paul J. Geller
Christopher A. Seeger                              Stuart A. Davidson
Stephen A. Weiss                                   ROBBINS GELLER RUDMAN
SEEGER WEISS                                         & DOWD LLP
77 Water Street, 8th Floor                         120 East Palmetto Park Road, Suite 500
New York, New York 10005                           Boca Raton, Florida 33432
(212) 584-0700                                     (561) 750-3000

Attorneys for Plaintiff

                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

CAMP 1382 LLC d/b/a CAMPAGNOLA                   Docket No.
RESTAURANT, on behalf of itself and all
others similarly situated,

                             Plaintiff,                    COMPLAINT and
                                                        DEMAND FOR JURY TRIAL
vs.

LANCER INSURANCE COMPANY

                             Defendant


       Plaintiff Camp 1382 LLC d/b/a Campagnola Restaurant, by way of Complaint against

Defendant Lancer Insurance Company, (“Defendant” or “Lancer”), alleges as follows:

                                      INTRODUCTION

       1.      On March 11, 2020 World Health Organization Director General Tedros Adhanom

Ghebreyesus declared the COVID-19 outbreak a worldwide pandemic: “WHO has been assessing

this outbreak around the clock and we are deeply concerned both by the alarming levels of spread
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and severity, and by the alarming levels of inaction. We have therefore made the assessment that

COVID-19 can be characterized as a pandemic.”1

       2.      On March 16, 2020, the Centers for Disease Control and Prevention, and

members of the national Coronavirus Task Force issued to the American public guidance, styled

as “30 Days to Slow the Spread” for stopping the spread of COVID-19. This guidance advised

individuals to adopt far-reaching social distancing measures, such as working from home,

avoiding shopping trips and gatherings of more than 10 people, and staying away from bars,

restaurants, and food courts.2

       3.      Following this advice for individuals to adopt far-reaching social distancing

measures, many state government administrations across the nation recognized the need to take

steps to protect the health and safety of their residents from the human to human and surface to

human spread of COVID-19. As a result, many governmental entities entered civil authority

orders suspending or severely curtailing business operations of non-essential businesses that

interact with the public and provide gathering places for the individuals. Currently, almost all

states within the United States have issued some sort of “stay-at-home” order and ordered private

non-essential business operations to close.

       4.      The result of these far-reaching restrictions and prohibitions has been catastrophic

for most non-essential businesses, especially restaurants and other foodservice businesses, as well

as retail establishments, entertainment venues, and other small, medium, and large businesses who




1
        See    https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-
at-the- media-briefing-on-COVID-19 11-march-2020
2
       https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-
guidance_8.5x11_315PM.pdf

                                                2
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have been forced to close, furlough employees, and endure a sudden shutdown of cash flow that

threatens their survival.

       5.        In addition to their contribution to the national economy in providing jobs,

restaurants are also vital to the national spirit because shared meals are an important mental

relief. As Oscar Wilde noted, “After a good dinner, one can forgive anybody, even one’s

relations.”

       6.        Moreover, food is part of the national psyche. As Anthony Bourdain noted,

“Food is everything we are. It’s an extension of nationalist feeling, ethnic feeling, your personal

history, your province, your region, your tribe, your grandma. It’s inseparable from those from

the get-go.”

       7.        Most businesses insure against such catastrophic events like the current unforeseen

COVID-19 pandemic through all-risk commercial property insurance policies. These policies

promise to indemnify the policyholder for actual business losses incurred when business

operations are involuntarily suspended, interrupted, curtailed, when access to the premises is

prohibited because of direct physical loss or damage to the property, or by a civil authority order

that restricts or prohibits access to the property. This coverage is commonly known as “business

interruption coverage” and is standard in most all-risk commercial property insurance policies.

       8.        Defendants, and most insurance companies who have issued all- risk commercial

property insurance policies with business interruption coverage, are denying the obligation to pay

for business income losses and other covered expenses incurred by policyholders for the physical

loss and damage to the insured property from measures put in place by the civil authorities to

stop the spread of COVID-19 among the population. This action seeks a declaratory judgment

that affirms that the COVID-19 pandemic and the corresponding response by civil authorities to




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stop the spread of the outbreak triggers coverage, has caused physical property loss and damage

to the insured property, provides coverage for future civil authority orders that result in future

suspensions or curtailments of business operations, and finds that Defendants are liable for the

losses suffered by policyholders.

       9.      In addition, this action brings a claim against Defendants for their breach of their

contractual obligation under common all-risk commercial property insurance policies to

indemnify Plaintiff and others similarly situated for business losses and extra expenses, and

related losses resulting from actions taken by civil authorities to stop the human to human and

surface to human spread of the COVID-19 outbreak.

       10.     Plaintiff brings this action on behalf of a proposed class of policyholders who paid

premiums in exchange for an all-risk commercial property insurance policy that included lost

business income and extra expense coverage.

                                JURISDICTION AND VENUE

       11.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d) in that

this is a class action in which the amount in controversy exceeds $5,000,000, exclusive of

interest and costs, and at least one member of the putative class is a citizen of a different State

than that of one of the Defendants.

       12.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b) in that Defendants

do business in this District and thus reside in this District, in accordance with 28 U.S.C.

§1391(c).

                                           PARTIES

       13.     Plaintiff Camp 1382 LLC d/b/a Campagnola Restaurant is a New York limited

liability company with its principal place of business in New York, New York.




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          14.   Defendant Lancer Insurance Company is an Illinois corporation with its principal

place of business in Long Beach, New York. Lancer is duly licensed to sell insurance in all 50

states.

          15.   Lancer issued to Plaintiff Policy Number CLP10126#2 for the policy period

between August 15, 2019 and August 15, 2020. .

                                  FACTUAL BACKGROUND

A.        The Global COVID-19 Pandemic

          16.   Viruses of the family Coronaviridae, such as Middle East respiratory syndrome

(MERS) coronavirus (MERS-CoV) and severe acute respiratory syndrome (SARS) coronavirus

(SARS-CoV), have been responsible for the loss of human life since at least 2002 and were

identified in several animal hosts.3

          17.   In December 2019, an initial cluster of nine patients with an unknown cause of

viral pneumonia was found to be linked to the Huanan seafood market in Wuhan, China, where

many non-aquatic animals such as birds were also on sale. However, one of the patients never

visited the market, though he had stayed in a hotel nearby before the onset of the illness.4


3
       See https://www.cdc.gov/coronavirus/2019-ncov/downloads/genomic-characterization-
of-2019-nCoV-Lancet-1-29-2020.pdf (There are four genera of CoVs: (I) α-coronavirus
(alphaCoV), (II) β-coronavirus (betaCoV) probably present in bats and rodents, while (III) δ-
coronavirus (deltaCoV), and (IV) γ-coronavirus (gammaCoV) probably represent avian species)
4
        See https://www.mdpi.com/1660-4601/17/8/2690 (As a typical RNA virus, the average
evolutionary rate for coronaviruses is roughly 10–nucleotide substitutions per site per year, with
mutations arising during every replication cycle. This finding suggests that 2019-nCoV
originated from one source within a short period and was detected rapidly. However, as the virus
transmits to more individuals, constant surveillance of mutations arising is needed.) See Lu R,
Zhao X, Li J, et al. Genomic characterisation and epidemiology of 2019 novel coronavirus:
implications for virus origins and receptor binding. Lancet (London, England). 2020
Feb;395(10224):565-574. DOI: 10.1016/s0140-6736(20)30251-8. (This finding suggests either
possible droplet transmission or that the patient was infected by a currently unknown source.
Evidence of clusters of infected family members and medical workers has now confirmed the
presence of human-to-human transmission.)

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       18.     By January 2020, genetic sequencing from patient samples was conducted to

identify a novel virus, SARS-CoV-2, as the causative agent for the pneumonia cluster.5 SARS-

CoV-2 is an RNA virus, with a crown-like appearance under an electron microscope because of

glycoprotein spikes on its envelope. Among the functions of the structural proteins, the envelope

has a crucial role in virus pathogenicity as it promotes viral assembly and release.6

       19.     The first confirmed case of the virus outside China was diagnosed on January 13,

2020 in Bangkok, Thailand with the number of cases exceedingly increasing worldwide. On

January 30, 2020, the World Health Organization (WHO) declared the SARS-COv-2 outbreak

constituted a public health emergency of international concern, and by February 11, 2020, the

virus was named “COVID-19” by the WHO Director-General.7 As of April 15, 2020, the WHO

reports a confirmed 1.9 million cases of COVID-19 globally and over 123,000 deaths, with the

United States dealing with more than 578,000 confirmed cases and 23,000 deaths - more than

any other country.8

       20.     The clinical features of COVID-19 vary from asymptomatic forms to fatal

conditions of severe respiratory failure that requires ventilation and support in an intensive care

unit (ICU). Pneumonia has been the most frequent severe manifestation of COVID-19, with




5
        https://www.mdpi.com/1660-4601/17/8/2690
6
        See      https://www.mdpi.com/1660-4601/17/8/2690 (To address the pathogenetic
mechanisms of SARS-CoV-2, its viral structure and genome must be considered. Coronaviruses
are enveloped positive strand RNA viruses with the largest known RNA genomes—30–32 kb—
with a 50 -cap structure and 30 -poly-A tail.)
7
       https://www.mdpi.com/1660-4601/17/8/2690
8
       https://covid19.who.int/



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symptoms of fever, cough, dyspnea, and bilateral infiltrates on chest imaging.9 There are no

specific treatments recommended for COVID-19, and no vaccine is currently available; so

understanding the complexities of COVID-19 is ongoing.10

       21.        It has now been discovered by scientists that COVID-19 has several modes of

transmission.      Pursuant to a “Situation Report” released by the WHO, the virus can be

transmitted through symptomatic transmission, pre-symptomatic transmission, or asymptomatic

transmission.11     Symptomatic transmission refers to transmission by an individual who is

experiencing symptoms associated with the virus who then transfers COVID-19 to another

individual.     Data from published studies provide evidence that COVID-19 is primarily

transmitted from symptomatic people to others who are in close contact through respiratory

droplets, by direct contact with infected persons, or by contact with contaminated objects and

surfaces.12


9
        See https://www.mdpi.com/1660-4601/17/8/2690 (Asymptomatic infections have also
been described, but their frequency is unknown...Other, less common symptoms have included
headaches, sore throat, and rhinorrhea. Along with respiratory symptoms, gastrointestinal
symptoms (e.g., nausea and diarrhea) have also been reported, and in some patients they may be
the presenting complaint.)
10
        See https://www.mdpi.com/1660-4601/17/8/2690 (The treatment is symptomatic, and
oxygen therapy represents the major treatment intervention for patients with severe infection.
Mechanical ventilation may be necessary in cases of respiratory failure refractory to oxygen
therapy, whereas hemodynamic support is essential for managing septic shock [37]. Different
strategies can be used depending on the severity of the patient and local epidemiology [38,39].
Home management is appropriate for asymptomatic or paucisintomatic patients. They need a
daily assessment of body temperature, blood pressure, oxygen saturation and respiratory
symptoms for about 14 days. Management of such patients should focus on prevention of
transmission to others and monitoring for clinical status with prompt hospitalization if needed.)
11
       https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-sitrep-
73-covid-19.pdf?sfvrsn=5ae25bc7_2
12
        See https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-
sitrep-73-covid-19.pdf?sfvrsn=5ae25bc7_2 (Data from clinical and virologic studies that have
collected repeated biological samples from confirmed patients provide evidence that shedding of
the COVID-19 virus is highest in upper respiratory tract (nose and throat) early in the course of

                                                7
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        22.    The incubation period for COVID-19, which is the time between exposure to the

virus (becoming infected) and symptom onset, averages 5-6 days, however, it can be up to 14

days.13 During this period, also known as the “presymptomatic” period, some infected persons

can be contagious. For that reason, transmission from a pre-symptomatic case can occur before

symptom onset.     Presymptomatic transmission still requires the virus to be spread through

infectious droplets or touching contaminated surfaces.14

        23.    An individual who does not develop symptoms, an asymptomatic case of COVID-

19, can still transmit the virus to another. Though there are few documented cases reported, it

does not exclude the possibility that it has or may occur.15

        24.    Not only is COVID-19 transmitted via human-to-human, but the WHO and

scientific studies have confirmed that the virus can live on contaminated objects or surfaces.

According to a study by scientists documented in The New England Journal of Medicine,

COVID-19 was detectable in aerosols for up to three hours, up to four hours on copper, up to 24

hours on cardboard, and up to two to three days on plastic and stainless steel.16 All of these


the disease. That is, within the first 3 days from onset of symptoms. Preliminary data suggests
that people may be more contagious around the time of symptom onset as compared to later on
in the disease.)
13
        https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-sitrep-
73-covid-19.pdf?sfvrsn=5ae25bc7_2
14
        See https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-
sitrep-73-covid-19.pdf?sfvrsn=5ae25bc7_2 (In a small number of case reports and studies, pre-
symptomatic transmission has been documented through contact tracing efforts and enhanced
investigation of clusters of confirmed cases. This is supported by data suggesting that some
people can test positive for COVID-19 from 1-3 days before they develop symptoms. Thus, it is
possible that people infected with COVID-19 could transmit the virus before significant
symptoms develop.)
15
       https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-sitrep-
73-covid-19.pdf?sfvrsn=5ae25bc7_2
16
     See https://www.nih.gov/news-events/news-releases/new-coronavirus-stable-hours-surfaces;

                                                 8
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materials are used in the preparation and service of food by restaurants. The results of the study

suggest that individuals could get COVID-19 through indirect contact with surfaces or objects

used by an infected person, whether they were symptomatic.

       25.     Another scientific study documented in the Journal of Hospital Infection found

that human coronaviruses, such as SARS-CoV and MERS-CoV can remain infectious on

inanimate surfaces at room temperature for up to nine days.17 At a temperature of 30 degrees

Celsius or more, the duration of persistence is shorter. Contamination of frequently touched

surfaces is, therefore, a potential source of viral transmission.18 Though this study was not

conclusive on COVID-19 itself, scientists are still grappling to understand this implication.

       26.     On March 27, 2020, the Centers for Disease Control and Prevention (“CDC”)

released a report entitled “Public Health Responses to COVID-19 Outbreaks on Cruise Ships -

Worldwide, February - March 2020.”19 The report detailed that during this time frame, COVID-



See        https://www.who.int/news-room/commentaries/detail/modes-of-transmission-of-virus-
causing-covid-19-implications-for-ipc-precaution-recommendations (In the context of COVID-
19, airborne transmission may be possible in specific circumstances and settings in which
procedures or support treatments that generate aerosols are performed; i.e., endotracheal
intubation, bronchoscopy, open suctioning, administration of nebulized treatment, manual
ventilation before intubation, turning the patient to the prone position, disconnecting the patient
from the ventilator, non-invasive positive-pressure ventilation, tracheostomy, and
cardiopulmonary resuscitation.)
17
         See        https://www.journalofhospitalinfection.com/action/showPdf?pii=S0195-
6701%2820%2930046-3
18
            See          https://www.journalofhospitalinfection.com/action/showPdf?pii=S0195-
6701%2820%2930046-3 (Although the viral load of coronaviruses on inanimate surfaces is not
known during an outbreak situation it seem plausible to reduce the viral load on surfaces by
disinfection, especially of frequently touched surfaces in the immediate patient surrounding
where the highest viral load can be expected. The WHO recommends “to ensure that
environmental cleaning and disinfection procedures are followed consistently and correctly.”)
19
       https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e3.htm?s_cid=mm6912e3_w



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19 outbreaks associated with three different cruise ship voyages caused over 800 confirmed

cases and 10 deaths.20      Of the individuals tested, a high proportion were found to be

asymptomatic, which may explain the high rates on cruise ships. What is interesting about this

study though, is that COVID-19 was identified on a variety of surfaces in cabins of both

symptomatic and asymptomatic infected passengers up to 17 days after cabins were vacated on

the Diamond Princess cruise line, but before disinfection procedures had been conducted.21 The

CDC notes that more studies are required to understand the perpetuation of transmission, but

what is clear is the uncertainty around COVID-19 and its implications for the lawful and safe

functioning of a variety of businesses, most significantly, food service businesses




20
        See   https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e3.htm?s_cid=mm6912e3_w
(During February 7–23, 2020, the largest cluster of COVID-19 cases outside mainland China
occurred on the Diamond Princess cruise ship, which was quarantined in the port of Yokohama,
Japan, on February 3 (3). On March 6, cases of COVID-19 were identified in persons on the
Grand Princess cruise ship off the coast of California; that ship was subsequently quarantined.
By March 17, confirmed cases of COVID-19 had been associated with at least 25 additional
cruise ship voyages. On February 21, CDC recommended avoiding travel on cruise ships in
Southeast Asia; on March 8, this recommendation was broadened to include deferring all cruise
ship travel worldwide for those with underlying health conditions and for persons aged ≥65
years. On March 13, the Cruise Lines International Association announced a 30-day voluntary
suspension of cruise operations in the United States. CDC issued a level 3 travel warning on
March 17, recommending that all cruise travel be deferred worldwide.)
21
        See     https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e3.htm?s_cid=mm6912e3_w
(Cruise ships are often settings for outbreaks of infectious diseases because of their closed
environment, contact between travelers from many countries, and crew transfers between ships.
On the Diamond Princess, transmission largely occurred among passengers before quarantine
was implemented, whereas crew infections peaked after quarantine/ On the Grand Princess, crew
members were likely infected on voyage A and then transmitted SARS-CoV-2 to passengers on
voyage B. The results of testing of passengers and crew on board the Diamond Princess
demonstrated a high proportion (46.5%) of asymptomatic infections at the time of testing.
Available statistical models of the Diamond Princess outbreak suggest that 17.9% of infected
persons never developed symptoms. A high proportion of asymptomatic infections could
partially explain the high attack rate among cruise ship passengers and crew...Although these
data cannot be used to determine whether transmission occurred from contaminated surfaces,
further study of fomite transmission of SARS-CoV-2 aboard cruise ships is warranted.)

                                                10
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       27.     Without a vaccine to protect against COVID-19, effective control of the outbreak

relies on measures designed to reduce human to human and surface to human exposure. Recent

information on the CDC’s website provides that COVID-19 spreads when people are within six

feet of each other or when a person comes in contact with a surface or object that has the virus on

it.22 Various other sources state that close contact with a person with the virus or surfaces where

the virus is found can transmit the virus.23

       28.     The secondary exposure of the surface to humans is particularly acute in places

where the public gathers typically to socialize, eat, drink, shop, be entertained, and go for

recreation. This is why the CDC recommends that in viral outbreaks individuals who are infected

stay at home and those who are not sick engage in preventive measures such as constant hand

washing and avoiding activities that would bring them into close proximity of people with the

virus or surfaces where the virus may reside. However, because these recommendations have

proven ineffective to minimize the spread of COVID-19, containment efforts have led to civil

authorities issuing orders closing non-essential business establishments, including restaurants,

bars, hotels, theaters, personal care salons, gyms, and schools, and mandating social distancing

among the population. This has caused the cancelation of sporting events, parades, and concerts,

the closure of amusement parks, and substantial travel restrictions. In addition, to conserve

medical supplies, orders have been issued prohibiting the performance of non-urgent or non-

22
       https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-COVID-
spreads.html
 23
        Persistence of coronaviruses on inanimate surfaces and their inactivation with biocidal
 agents, Vol. 104, Kemp., G., et al., Journal of Hospital Infection, No. 3, March 2020, pages
 246-251 (remains infectious from 2 hours to 28 days depending on conditions); see also
 https://www.ucsf.edu/news/2020/02/416671/how-new-coronavirus-spreads-and-progresses-and-
 why-one-test-may-not-be-enough (doorknobs and table tops can contain the virus);
 https://www.nytimes.com/2020/03/02/health/coronavirus-how-it-spreads.html (virus can remain
 on metal, glass and plastic for several days).

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emergency elective procedures and surgeries, forcing the suspension of operations at many

medical, surgical, therapeutic, and dental practices.

       29.     New York was among the first states to declare a state of emergency, with Gov.

Andrew Cuomo issuing Executive Order No. 202 on March 7, 2020. On March 16, 2020, Gov.

Cuomo, in conjunction with New Jersey Governor Phil Murphy and Connecticut Governor Ned

Lamont ordered that as of 8 p.m. that evening, all gyms, movie theaters, bars and casinos were to

be closed. Restaurants were limited to take-out and delivery orders only. All non-essential

businesses were “strongly advised” to close. On March 20, 2020, Governor Cuomo issued an

additional executive order closing all non-essential businesses.

       30.     All but six states have enacted “stay-at-home” orders, thirty-five states have

closed all non-essential businesses with other states enacting measures to curtail business

operations, all fifty states have closed schools, and all but one state has closed restaurants and

bars for services other than take-out and delivery (the “Closure Orders”).24

B.     Defendants’ Standard Uniform All-Risk Commercial Property Insurance Policies

       31.     Lancer’s insurance policies issued to Plaintiff and the Class Members are “all

risk” commercial property polices which cover loss or damage to the covered premises resulting

from all risks other than those expressly excluded.

       32.     Plaintiff’s Policy, as well as the policies of other Class Members, are standard

forms that are used by Lancer for all insureds having applicable coverage.




24
           https://www.kff.org/health-costs/issue-brief/state-data-and-policy-actions-to-address-
coronavirus/.



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C.     Plaintiff’s Factual Allegations

       33.     Among the coverages provided by the Policy was business interruption insurance,

which, generally, would indemnify Plaintiff for lost income and profits in the event that their

businesses were shut down.

       34.     In general, Plaintiff’s Policy in Building And Personal Property Coverage Form,

form CP 00 10 10 12 provided:

       Coverage

       We will pay for direct physical loss of or damage to Covered Property at the
       premises described in the Declarations caused by or resulting from any Covered
       Cause of Loss

       35.     A Covered Cause of Loss is any cause not excluded under the Policy.

       36.     Plaintiff’s Business Income (Without Extra Expense) Coverage Form, form CP 00

32 10 12 provided coverage for Plaintiff as follows:

       We will pay for the actual loss of Business Income you sustain due to the
       necessary “suspension” of your “operations” during the “period of restoration”.
       The “suspension” must be caused by direct physical loss of or damage to property
       at premises which are described in the Declarations and for which a Business
       Income Limit Of Insurance is shown in the Declarations. The loss or damage must
       be caused by or result from a Covered Cause of Loss. With respect to loss of or
       damage to personal property in the open or personal property in a vehicle, the
       described premises include the area within 100 feet of such premises.

       37.     In the same form, Plaintiff’s Policy provided that Lancer would pay:

       Expenses To Reduce Loss

       In the event of a covered loss of Business Income, we will pay necessary
       expenses you incur, except for the cost of extinguishing a fire, to avoid further
       loss of Business Income. The total of our payment for Business Income Loss and
       Expenses To Reduce Loss will not be more than the Business Income loss would
       have been payable under this Coverage Form (after application of any
       Coinsurance penalty) if the Expenses to Reduce Loss had not been incurred. This
       coverage does not increase the Limit of Insurance




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        38.      In the same form, the Policy provided the following additional coverage for

Plaintiff:

        Civil Authority

        In this Additional Coverage, Civil Authority, the described premises are premises
        to which this Coverage Form applies, as shown in the Declarations.

        When a Covered Cause of Loss causes damage to property other than property at
        the described premises, we will pay for the actual loss of Business Income you
        sustain caused by action of civil authority that prohibits access to the described
        premises, provided that both of the following apply:

        (1)      Access to the area immediately surrounding the damaged property is
                 prohibited by civil authority as a result of the damage, and the described
                 premises are within that area but are not more than one mile from the
                 damaged property; and

        (2)      The action of civil authority is taken in response to dangerous physical
                 conditions resulting from the damage or continuation of the Covered
                 Cause of Loss that caused the damage, or the action is taken to enable a
                 civil authority to have unimpeded access to the damaged property.

        Civil Authority Coverage for Business Income will begin 72 hours after the time
        of the first action of civil authority that prohibits access to the described premises
        and will apply for a period of up to four consecutive weeks from the date on
        which such coverage began.

        Civil Authority Coverage for Extra Expense will begin immediately after the time
        of the first action of civil authority that prohibits access to the described premises
        and will apply for a period of up to four consecutive weeks after the date of that
        on which such coverage began.

        39.      Under the Policy defines Business Income as:

                 a.     Net Income (Net Profit or Loss before income taxes) that would
                        have been earned or incurred; and

                 b.     Continuing normal operating expenses incurred, including payroll

        40.      Plaintiff’s Policy includes an endorsement New York -- Exclusion of Loss Due

To Virus or Bacteria, Commercial Property form CP 01 78 08 08, which provides:




                                                 14
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        We will not pay for loss or damage caused by or resulting from any virus,
        bacterium or other microorganism that induces or is capable of inducing physical
        distress, illness or disease.

        41.     Plaintiff and all similarly situated Class members have suffered a direct physical

loss of and damage to their property because they have been unable to use their property for its

intended purpose.

        42.     The exclusion contained in the Virus and Bacteria endorsement is not applicable

because Plaintiff’s and other class members’, losses were not caused by a “virus, bacterium or

other microorganism that induces or is capable of inducing physical distress, illness or disease”,

Rather, the efficient proximate cause of Plaintiff’s, and other Class Members’ losses, were

precautionary measures taken by the governments of their respective counties and states to

prevent the spread of COVID-19 in the future, not because coronavirus was found in or on

Plaintiff’s insured property.

D.      The COVID-19 Pandemic has Affected Policyholders Nationwide.

        43.     COVID-19 is physically impacting private commercial property in New York and

throughout the United States, threatening the survival of thousands of restaurants, retail

establishments, and other businesses that have had their business operations suspended or

curtailed indefinitely by order of civil authorities.

        44.     No insurer intends to cover any losses caused by the COVID-19 pandemic.

        45.     For example, a bipartisan group from the U.S. House of Representatives recently

sent a letter to various insurance industry trade groups requesting that their members recognize

financial losses relating to COVID-19 under the standard commercial interruption coverage. In

response, the industry trade groups stated: “Business interruption policies do not, and were not




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designed to, provide coverage against communicable diseases such as COVID-19.”25 Upon

information and belief, Lancer belongs to and supports the trade groups’ position.

        46.      In addition, many state departments of insurance have issued advisories to

business owners that COVID-19 is not an insured peril and there will be no coverage for

business interruption. This is disinformation being published to discourage business owners from

filing claims.

        47.      For instance, Arkansas Insurance Department Bulletin No. 9-2020 states that “In

most BII policies, coverage is triggered when the policyholder sustains physical damage to

insured property caused by a covered peril resulting in quantifiable business interruption loss . .

. viruses and disease are typically NOT an insured peril unless added by endorsement (emphasis

in the original).26

        48.      The South Carolina Department of Insurance issues “Guidance” on business

interruption insurance stating that under the business income policy, there likely is no coverage

from losses resulting from a virus.27

        49.      Members of the insurance industry have also been actively advising Insurance

Commissioners that they do not intend to provide coverage for business interruption related to

COVID-19. As a result, many small businesses that maintain commercial multi-peril insurance

policies with business interruption coverage will have significant uninsured losses because the

insurance industry is stating that such policies do not cover COVID-19.




25
        https://www.insurancejournal.com/news/national/2020/03/20/561810.htm
26
        https://insurance.arkansas.gov/uploads/resource/documents/9-2020.pdf
27
        https://www.doi.sc.gov/948/COVID-19



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       50.     For instance, the State of Connecticut Insurance Department, Maryland Insurance

Administration and the West Virginia Office of the Insurance Commissioner issued nearly

identical notices supporting the insurance companies’ reasons for denying business interruption

claims, stating that the potential loss costs from such perils [like COVID-19] are so extreme that

providing coverage would jeopardize the financial solvency of property insurers.28

       51.     John F. King, Insurance and Safety Fire Commission for the State of Georgia

issued Bulletin 20-EX-3 stating that losses from COVID-19 are excluded losses.29 Vicki

Schmidt, Kansas Insurance Department Commission issued a similar Bulletin stating it was her

“understanding it is unlikely that a business policy would cover losses related to COVID-19.”30

       52.     Other state governments expect that insurance companies will breach their

obligation to provide coverage for business losses due to the COVID-19 pandemic and have

introduced bills requiring every insurance policy insuring against loss or damage to property,

which includes the loss of use and occupancy and business interruption, be construed to include,

among other covered perils, coverage for business interruption because of global virus

transmission or pandemic.31

       53.     A declaratory judgment determining that the business income loss and extra

expense coverage provided in common all-risk commercial property insurance policies applies to

28
          See https://portal.ct.gov/CID/Coronavirus/Business-Interruption-Insurance-Notice;
https://insurance.maryland.gov/Pages/newscenter/NewsDetails.aspx?NR=2020256;
https://www.wvinsurance.gov/Portals/0/pdf/pressrelease/20-
08%20Business%20Interruption%20Insurance.pdf?ver=2020-03-26-222830-620.
29
       https://www.oci.ga.gov/ExternalResources/Announcements/Bulletin-3172020-1619.pdf.
30
       https://insurance.ks.gov/documents/department/COVID19-FAQ.pdf.
31
       See House Bill No. 858, State of Louisiana House of Representatives. Similar legislation
has been introduced in Massachusetts (Senate Bill Senate Docket. 2888); New Jersey (Assembly
No. 3844); Sate of New York (Assembly 10226); and Ohio (House Bill No. 589).

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the suspension, curtailment, and interruption of business operations resulting from measures put

into place by civil authorities is necessary to prevent the Plaintiff and similarly situated Class

members from being denied critical coverage for which they have paid.

                                CLASS ACTION ALLEGATIONS

        54.     Plaintiff brings this lawsuit pursuant to Federal Rule of Civil Procedure 23(a) and

(b)(3) on behalf of itself and all other persons similarly situated.

        55.     The Nationwide Class is defined as:

                All entities who have entered into standard all-risk commercial property
                insurance policies with Lancer, where such policies provide for business
                income loss and extra expense coverage and do not exclude coverage for
                pandemics, , and who have suffered losses due to measures put in place by
                civil authorities’ stay-at-home or shelter-in-place orders since March 15,
                2020.

                The New York Sub-Class is defined as:

                All entities who have entered into standard all-risk commercial property
                insurance policies with Lancer to insure property in New York, where
                such policies provide for business income loss and extra expense coverage
                and do not exclude coverage for pandemics, and , and who have suffered
                losses due to measures put in place by civil authorities’ stay-at-home or
                shelter-in-place orders since March 15, 2020.

Excluded from each class are the Defendant, its employees, officers, directors, legal

representatives, heirs, successors, and wholly or partly owned subsidiaries or affiliated

companies; Class Counsel and their employees; and the judicial officers and their immediate

family members and associated court staff assigned to this case.

        56.     Plaintiff reserve the right to modify, expand, or amend the definitions of the

proposed classes following the discovery period and before the Court determines whether class

certification is appropriate.




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       57.     Certification of Plaintiff’ claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of their claims on a class-wide basis using the same evidence as

would prove those elements in individual actions alleging the same claims.

       Numerosity

       58.     This action satisfies the requirements of Fed.R.Civ.P. 23(a)(1). The Class

numbers at least in the hundreds and consists of geographically dispersed business entities who

are insured for business interruption losses. Lancer sells many insurance policies in the State of

New York and all other states and therefore joinder of the Class members is impracticable.

       59.     The identity of Class members is ascertainable, as the names and addresses of all

Class members can be identified in Lancer’s or their agent’s books and records. Plaintiff

anticipates providing appropriate notice to the certified Class in compliance with Fed.R.Civ.P.

23(c)(2)(A) and/or (B), to be approved by the Court after class certification, or pursuant to court

order under Fed. R. Civ. P. 23(d).

       Typicality

       60.     This action satisfies the requirements of Fed.R.Civ.P. 23(a)(3) because Plaintiff’s

claims are typical of the claims of each of the Class members, as all Class members were and are

similarly affected and their claims arise from the same all-risk commercial property insurance

policy provisions entered into with Lancer. Each Class member’s insurance policy contains the

same form providing coverage for business income loss. None of the forms exclude coverage

due to a governmental action intended to reduce the effect of the ongoing global pandemic. As a

result, a declaratory judgment as to the rights and obligations under Plaintiff’s Policy will

address the rights and obligations of all Class members.




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        Adequacy of Representation

        61.      Plaintiff is committed to prosecuting the action, will fairly and adequately protect

the interests of the members of the Class, and has retained counsel competent and experienced in

class action litigation, including litigation relating to insurance policies. Plaintiff has no interests

antagonistic to or in conflict with other members of the Class. Plaintiff anticipates no difficulty

in the management of this litigation as a class action.

        Commonality

        62.      This action satisfies the requirements of Fed.R.Civ.P. 23(a)(2) because there are

questions of law and fact that are common to each of the classes. These common questions

predominate over any questions affecting only individual Class members. The questions of law

and fact common to the Class include, but are not limited to:

        a.       Whether there is an actual controversy between Plaintiff and Lancer as to the
                 rights, duties, responsibilities and obligations of the parties under the business
                 interruption coverage provisions in standard all- risk commercial property
                 insurance policies;

        b.       Whether measures to reduce the spread of the COVID-19 pandemic are excluded
                 from Plaintiff’s and the Class members standard all-risk commercial property
                 insurance policies;

        c.       Whether the measures put in place by civil authorities to stop the spread of
                 COVID-19 caused physical loss or damage to covered commercial property;

        d.       Whether Lancer has repudiated and anticipatorily breached the all-risk
                 commercial property insurance policies the issued with business interruption
                 coverage by intending to deny claims for coverage; and

        e.       Whether Plaintiff and the Class members suffered damages as a result of the
                 anticipatory breach by Lancer.

        Superiority/Predominance

        63.      This action satisfies the requirements of Fed.R.Civ.P. 23(b)(3). A class action is

superior to other available methods for the fair and efficient adjudication of the rights of the



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Class members. The joinder of individual Class members is impracticable because of the vast

number of Class members who have entered into the standard all-risk commercial property

insurance policies with the Defendants.

       64.     Because a declaratory judgment as to the rights and obligations under the uniform

all-risk commercial property insurance policies will apply to all Class members, most or all Class

Members would have no rational economic interest in individually controlling the prosecution of

specific actions. The burden imposed on the judicial system by individual litigation, and to

Lancer, by even a small fraction of the Class members, would be enormous.

       65.     In comparison to piecemeal litigation, class action litigation presents far fewer

management difficulties, far better conserves the resources of both the judiciary and the parties,

and far more effectively protects the rights of each Class member. The benefits to the legitimate

interests of the parties, the Court, and the public resulting from class action litigation

substantially outweigh the expenses, burdens, inconsistencies, economic infeasibility, and

inefficiencies of individualized litigation. Class adjudication is superior to other alternatives

under Fed.R.Civ.P. 23(b)(3)(D). Class treatment will also avoid the substantial risk of

inconsistent factual and legal determinations on the many issues in this lawsuit.

       66.     Plaintiff knows of no obstacles likely to be encountered in the management of this

action that would preclude its maintenance as a class action. Rule 23 provides the Court with the

authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

reduce management challenges. The Court may, on motion of Plaintiff or on its own

determination, certify nationwide and statewide classes for claims sharing common legal

questions; use the provisions of Rule 23(c)(4) to certify particular claims, issues, or common




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questions of law or of fact for class-wide adjudication; certify and adjudicate bellwether class

claims; and use Rule 23(c)(5) to divide any Class into subclasses.

                                          COUNT I
             DECLARATORY JUDGMENT – BUSINESS INCOME COVERAGE
            (Claim Brought on Behalf of the National Class and New York Subclass)

          67.   Plaintiff repeats the allegations set forth in paragraphs 1-66 as if fully set forth

herein.

          68.   Plaintiff brings this Count individually and on behalf of the other members of the

National Class and New York Subclass.

          69.   Plaintiff’ Lancer Policy, as well as those of the other Class Members, are

contracts under which Lancer was paid premiums in exchange for its promise to pay Plaintiff’s

and the other Class Members’ losses for claims covered by the Policy.

          70.   Plaintiff and other Class Members have complied with all applicable provisions of

the Policies and/or those provisions have been waived by Lancer or Lancer is estopped from

asserting them, and yet Lancer has abrogated its insurance coverage obligations pursuant to the

Policies’ clear and unambiguous terms and has wrongfully and illegally refused to provide

coverage to which Plaintiff and Class Members are entitled.

          71.   Lancer has denied claims related to COVID-19 on a uniform and class-wide basis,

without individual bases or investigations, so the Court can render declaratory judgment no

matter whether members of the Class have filed a claim.

          72.   An actual case or controversy exists regarding Plaintiff’s and the other Class

Members’ rights and Lancer’s obligations under the Policies to reimburse Plaintiff and Class

Members for the full amount of Business Income losses incurred by Plaintiff and the other Class




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Members in connection with the suspension of their businesses stemming from Orders intended

to mitigate the COVID-19 pandemic.

          73.       Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Class Members seek a

declaratory judgment from this Court declaring the following:

          i.        Plaintiff’s and the other Class Members’ Business Income losses incurred in
                    connection with the Closure Order and the necessary interruption of their
                    businesses stemming from Orders intended to mitigate the COVID-19 pandemic
                    are insured losses under their Policies; and

          ii.       Lancer is obligated to pay Plaintiff and other Class Members for the full amount
                    of the Business Income losses incurred and to be incurred in connection with the
                    Closure Order during the period of restoration and the necessary interruption of
                    their businesses stemming from Orders intended to mitigate the COVID-19
                    pandemic.

                                              COUNT II
                   BREACH OF CONTRACT – BUSINESS INCOME COVERAGE
                (Claim Brought on Behalf of the National Class and New York Subclass)

          74.       Plaintiff repeats the allegations set forth in paragraphs 1-73 as if fully set forth

herein.

          75.       Plaintiff brings this Count individually and on behalf of the other members of the

National Class and New York Subclass.

          76.       Plaintiff’s Lancer Policy, as well as those of the other Class members, are

contracts under which Lancer was paid premiums in exchange for its promise to pay Plaintiff’s

and the other Class Members’ losses for claims covered by the Policy.

          77.       In the Business Income (Without Extra Expense) coverage form, Lancer agreed to

pay for its insureds’ actual loss of Business Income sustained due to the necessary “interruption

of your] operations” during the “period of restoration” caused by direct physical loss or damage.




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          78.   “Business Income” under the policy means the “Net Income (Net Profit or Net

Loss before income taxes) that would have been earned or incurred”, as well as “[c]ontinuing

normal operating expenses incurred, including payroll”

          79.   The Closure Orders caused direct physical loss and damage to Plaintiff’s and the

other Class Members’ Covered Properties, requiring suspension of operations at the Covered

Properties. Losses caused by the Closure Orders thus triggered the Business Income provision of

Plaintiff’s and the other Class Members’ Lancer policies.

          80.   Plaintiff and the other Class Members have complied with all applicable

provisions of their policies and/or those provisions have been waived by Lancer or Lancer

estopped from asserting them, and yet Lancer has abrogated its insurance coverage obligations

pursuant to the Policies’ clear and unambiguous terms.

          81.   By denying coverage for any Business Income losses incurred by Plaintiff and

other Class Members as a result of the Closure Order and Orders intended to mitigate the

COVID-19 pandemic, Lancer has breached its coverage obligations under the Policies.

          82.   As a result of Lancer’s breaches of the Policies, Plaintiff and the other Class

Members have sustained substantial damages for which Lancer is liable, in an amount to be

established at trial.

                                         COUNT III
             DECLARATORY JUDGMENT – CIVIL AUTHORITY COVERAGE
            (Claim Brought on Behalf of the National Class and New York Subclass)

          83.   Plaintiff repeats the allegations set forth in paragraphs 1-82 as if fully set forth

herein.

          84.   Plaintiff brings this Count individually and on behalf of the other members of the

National Class and New York Subclass.




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       85.       Plaintiff’s Lancer Policy, as well as those of the other Class Members, are

contracts under which Lancer was paid premiums in exchange for its promise to pay Plaintiff’s

and other Class members’ losses for claims covered by the Policy.

       86.       Plaintiff and Class members have complied with all applicable provisions of the

Policies and/or those provisions have been waived by Lancer or Lancer is estopped from

asserting them, and yet Lancer has abrogated its insurance coverage obligations pursuant to the

Policies’ clear and unambiguous terms and has wrongfully and illegally refused to provide

coverage to which Plaintiff and Class Members are entitled.

       87.       Lancer has denied claims related to COVID-19 on a uniform and class wide basis,

without individual bases or investigations, so the Court can render declaratory judgment no

matter whether members of the Class have filed a claim.

       88.       An actual case or controversy exists regarding Plaintiff’s and other Class

Members’ rights and Lancer’s obligations under the Policies to reimburse Plaintiff and other

Class Members for the full amount of covered Civil Authority losses incurred by Plaintiff and

other Class Members in connection with Closure Order and the necessary interruption of their

businesses stemming from the Orders intended to mitigate the COVID-19 pandemic.

       89.       Pursuant to 28 U.S.C. § 2201, Plaintiff and other Class Members seek a

declaratory judgment from this Court declaring the following:

       i.        Plaintiff’s and other Class Members’ Civil Authority losses incurred in
                 connection with the Closure Order and the necessary interruption of their
                 businesses stemming from the COVID-19 pandemic are insured losses under their
                 Policies; and

       ii.       Lancer is obligated to pay Plaintiff and other Class members the full amount of
                 the Civil Authority losses incurred and to be incurred in connection with the
                 covered losses related to the Closure Order and the necessary interruption of their
                 businesses stemming from the Orders intended to mitigate the COVID-19
                 pandemic.



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                                         COUNT IV
               BREACH OF CONTRACT – CIVIL AUTHORITY COVERAGE
            (Claim Brought on Behalf of the National Class and New York Subclass)

          90.   Plaintiff repeats the allegations set forth in paragraphs 1-89 as if fully set forth

herein.

          91.   Plaintiff brings this Count individually and on behalf of the other members of the

National Class and New York Subclass.

          92.   Plaintiff’s Policy, as well as those of the other Class Members, are contracts under

which Lancer was paid premiums in exchange for its promise to pay Plaintiff’s and the other

Class Members’ losses for claims covered by the policy.

          93.   Lancer’s Business Income (Without Extra Expense) form provides “Civil

Authority” coverage, which promises to pay “the actual loss of Business Income you sustain

caused by action of civil authority that prohibits access to the described premises.”

          94.   The Closure Orders triggered the Civil Authority provision under Plaintiff’s and

the other members of the Class’ Lancer Policies.

          95.   Plaintiff and the other members of the Class have complied with all applicable

provisions of the Policies and/or those provisions have been waived by Lancer or Lancer is

estopped from asserting them, and yet Lancer has abrogated its insurance coverage obligations

pursuant to the Policies’ clear and unambiguous terms.

          96.   By denying coverage for any business losses incurred by Plaintiff and other

members of the Class in connection with the Closure Order and Orders intended to mitigate the

COVID-19 pandemic, Lancer has breached its coverage obligations under the Policies.




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        97.      As a result of Lancer’s breaches of the Policies, Plaintiff and the other members

of the Class have sustained substantial damages for which Lancer s liable, in an amount to be

established at trial.

        WHEREFORE, Plaintiff, on behalf of itself and all similarly situated individuals,

demand judgment against the Defendants as follows:

        (1)       Declaring this action to be a proper class action maintainable pursuant to

Fed.R.Civ.P. 23(a) and Rule 23(b)(3) and declaring Plaintiff and their counsel to be

representatives of the Class;

        (2)       Issuing a Declaratory Judgment declaring the Parties’ rights and obligations

under the insurance policies;

        (3)       Awarding Plaintiff and the Class compensatory damages from Lancer’s breach

of the insurance policies in an amount to be determined at trial, together with appropriate

prejudgment interest at the maximum rate allowable by law;

        (4)       Awarding Plaintiff and the Class costs and disbursements and reasonable

allowances for the fees of Plaintiff’s and the Class’s counsel and experts, and reimbursement of

expenses; and

        (5)       Awarding such other and further relief the Court deems just, proper, and

equitable.

                                                             CARELLA, BYRNE, CECCHI
                                                             OLSTEIN, BRODY & AGNELLO
                                                             Attorneys for Plaintiff


                                                             By:        /s/ James E. Cecchi
                                                                        JAMES E. CECCHI

Dated: April 29, 2020




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Christopher A. Seeger
Stephen A. Weiss
SEEGER WEISS
77 Water Street, 8th Floor
New York, New York 10005
(212) 584-0700

Samuel H. Rudman
ROBBINS GELLER RUDMAN
  & DOWD LLP
58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100

Paul J. Geller
Stuart A. Davidson
ROBBINS GELLER RUDMAN
  & DOWD LLP
120 East Palmetto Park Road, Suite 500
Boca Raton, Florida 33432
(561) 750-3000




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                              DEMAND FOR A JURY TRIAL

       Plaintiff and the Class request a jury trial for all Counts for which a trial by jury is

permitted by law.

                                                   CARELLA, BYRNE, CECCHI
                                                   OLSTEIN, BRODY & AGNELLO
                                                   Attorneys for Plaintiff


                                                   By:    /s/ James E. Cecchi
                                                          JAMES E. CECCHI

Dated: April 29, 2020

Christopher A. Seeger
Stephen A. Weiss
SEEGER WEISS
77 Water Street, 8th Floor
New York, New York 10005
(212) 584-0700

Samuel H. Rudman
ROBBINS GELLER RUDMAN
  & DOWD LLP
58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100

Paul J. Geller
Stuart A. Davidson
ROBBINS GELLER RUDMAN
  & DOWD LLP
120 East Palmetto Park Road, Suite 500
Boca Raton, Florida 33432
(561) 750-3000




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